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                                UNITED STATES DISTRICT COURT
21                            NORTHERN DISTRICT OF CALIFORNIA
                                     OAKLAND DIVISION
22

23   PATRICK CALHOUN, et al., on behalf of           Case No. 4:20-cv-5146-YGR-SVK
     themselves and all others similarly situated,
24          Plaintiffs,                              JOINT SUBMISSION RE
                                                     AUTHENTICITY OF DOCUMENTS
25                                                   PURSUANT TO DKT. 539
            v.
26
     GOOGLE LLC,                                     Hon. Susan van Keulen, USMJ
27       Defendant.
28
                                                                  Case No. 4:20-cv-5146-YGR-SVK
                         JOINT SUBMISSION RE AUTHENTICITY OF DOCUMENTS PURSUANT TO DKT. 539
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 1          Pursuant to Dkt. 539, the parties write to update the Court on Dispute 2.17 regarding the
 2 authenticity of documents produced in this litigation and Plaintiffs’ Requests for Admissions for

 3 Authentication Set 1 (Nos. 1-278) and Set 2 (Nos. 279- 1,217). In light of the Court’s guidance,

 4 Google proposed a revised stipulation to Plaintiffs on March 7, and Plaintiffs provided additional

 5 revisions a short time ago that Google is considering. The parties have another meet and confer

 6 planned for this evening and hope an agreement can be reached shortly. The parties will provide

 7 an additional update to the Court by tomorrow at 3:00 P.M Pacific.

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   DATED: March 7, 2022
10 BLEICHMAR FONTI & AULD LLP                       QUINN EMANUEL URQUHART &
11                                                  SULLIVAN, LLP

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       Case 4:20-cv-05146-YGR Document 545 Filed 03/07/22 Page 4 of 4




 1                ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)
 2          I, Andrew H. Schapiro, attest that concurrence in the filing of this document has been

 3 obtained from the other signatories. I declare under penalty of perjury that the foregoing is true

 4 and correct.

 5                                                /s/ Andrew H. Schapiro
                                                     Andrew H. Schapiro
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